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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA, )

Plaintiff,
¥i Case No. 19-CR-00009-GKF
HONGJIN TAN,

Defendant.

PLEA AGREEMENT PURSUANT TO
FEDERAL RULE OF CRIMINAL PROCEDURE 11(c)G)(C)

The United States of America, by and through R. Trent Shores, United States
Attorney for the Northern District of Oklahoma, and Joel-lyn A. McCormick, Assistant
United States Attorney, and the defendant, HONGJIN TAN, in person and through
counsel, Ryan A. Ray, respectfully inform the Court that they have reached the following
plea agreement, pursuant to Fed. R. Crim. P. 11(c)(1)(C).

1. Plea

The defendant agrees to enter voluntary pleas of guilty to the following:

Count One —- Theft of Trade Secret, in violation of 18 U.S.C. § 1832(a)(1);

Count Two — Unauthorized Transmission of Trade Secret, in violation of 18
U.S.C. § 1832(a)(2); and

Count Three — Unauthorized Possession of Trade Secret, in violation of 18
U.S.C. § 1832(a)(3),

as set forth in the Indictment in the instant case, Northern District of Oklahoma, and admits

to being in fact guilty as charged in the counts to which the defendant is pleading guilty.

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2 Waiver of Constitutional Rights
The defendant understands that, by pleading guilty, the following constitutional

rights will be relinquished:

a. the right to be indicted if proceeding by Information;
b. the right to plead not guilty;
. the right to be tried by a jury, or, if the defendant wishes and with the consent

of the Government, to be tried by a judge;

d. at trial, the defendant has the right to an attorney, and if defendant could not
afford an attorney, the Court would appoint one to represent the defendant;

ei the defendant has the right to assist in the selection of the jury;

f. during trial, the defendant would be presumed innocent, and a jury would be
instructed that the Government has the burden to prove the defendant guilty beyond a
reasonable doubt and by a unanimous verdict;

g. the defendant has the right to confront and cross-examine witnesses against
the defendant;

h. if desired, the defendant could testify on the defendant’s own behalf and
present witnesses in the defendant’s defense;

1. if the defendant did not wish to testify, that fact could not be used against the
defendant, and a jury would be so instructed;

j. if the defendant were found guilty after a trial, the defendant would have the
right to appeal that verdict to determine if any errors had been committed during trial that
would require either a new trial or a dismissal of the charges; and

k. at trial, the defendant would be entitled to have a jury determine beyond a
reasonable doubt any facts which may have the effect of increasing the defendant’s
mandatory minimum or maximum sentence.

By pleading guilty, the defendant will be giving up all of these rights. By pleading guilty,

the defendant understands that the defendant may have to answer questions posed to

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defendant by the Court, both about the rights that the defendant will be giving up and the
factual basis for the defendant’s plea.

Js Appellate and Post-Conviction Waiver

In consideration of the promises and concessions made by the United States in this
plea agreement, the defendant knowingly and voluntarily agrees to the following terms:

a. The defendant waives the mght to directly appeal the conviction and
sentence pursuant to 28 U.S.C. § 1291 and/or 18 U.S.C. § 3742(a); except that the
defendant reserves the right to appeal from a sentence that exceeds the statutory maximum,
from any Order the Court may enter rejecting this plea agreement, and the defendant will
have all appeal rights restored if the Court rejects this plea agreement;

b. The defendant expressly acknowledges and agrees that the United States
reserves all rights to appeal the defendant’s sentence as set forth in 18 U.S.C. § 3742(b),
and U.S. v. Booker, 543 U.S. 220 (2005); and

ci The defendant waives the right to collaterally attack the conviction and
sentence pursuant to 28 U.S.C. § 2255, except for claims of ineffective assistance of
counsel.

The defendant expressly acknowledges that counsel has explained his appellate and

post-conviction rights; that the defendant understands his rights; and that the defendant

knowingly and voluntarily waives those rights as set forth above.

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HONGJIN TAN

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4. Departure and Variance Waiver

In consideration of the promises and concessions made by the United States in this
plea agreement, the defendant knowingly and voluntarily agrees to the following:

a. the defendant agrees not to request, recommend, or file a motion seeking a
departure from the Guidelines range pursuant to Chapter Four of the Sentencing
Guidelines, except as may be necessary to request that the Court accept this Plea
Agreement; and

b. the defendant agrees not to request, recommend, or file a motion seeking a
variance below the Guidelines range pursuant to the § 3553(a) factors, except as may be

necessary to request that the Court accept this Plea Agreement.

The defendant’s request that the Court impose the low end of the stipulated range
set forth below shall not be a violation of this Paragraph.

5: Freedom of Information Act Waiver

The defendant waives all rights, whether asserted directly or by a representative, to
request or to receive from any department or agency of the United States any records
pertaining to the investigation or prosecution of this case including, without limitation, any
records that may be sought under the Freedom of Information Act, 5 U.S.C. § 552, or the
Privacy Act of 1974, 5 U.S.C. § 552a.

6. Rule 11 Rights Waiver

The defendant knowingly and expressly waives all of the rights afforded defendant
pursuant to the provisions of Rule 11(f) of the Federal Rules of Criminal Procedure. In
other words, after entry of a plea made pursuant to this plea agreement, and in consideration
thereof, the following shall be admissible against the defendant:

a. A plea of guilty which is later withdrawn or which the defendant seeks to
withdraw, unless done pursuant to Fed. R. Crim. P. 11(c)(1)(C);

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b. Any statement made in the course of any proceeding under Rule 11 regarding
said plea of guilty;

C: Any statement made in the course of plea discussions with an attorney or

agent for the Government, or which were made pursuant to a proffer letter agreement,
which result in a plea of guilty later withdrawn, unless done pursuant to Fed. R. Crim. P.

L1(eK nyc).

te Waiver of Right to Jury Trial on Sentencing Factors

The defendant, by entering this plea, also waives the right to have facts that
determine the offense level under the Sentencing Guidelines (including facts that support
any specific offense characteristic or other enhancement or adjustment) (1) charged in the
Indictment, (2) proven to a jury, or (3) proven beyond a reasonable doubt. The defendant
explicitly consents to have the sentence based on facts to be established by a preponderance
of the evidence before the sentencing judge pursuant to United States v. Crockett, 435 F.3d
1305 (10th Cir. 2006), and United States v. Magallanez, 408 F.3d 672 (10th Cir. 2005),
and to allow the Court to consider any reliable evidence without regard to its admissibility
at trial. The defendant also waives all challenges to the constitutionality of the Sentencing
Guidelines.

8. Payment of Monetary Penalties

The defendant understands that the Court may impose a fine pursuant to the
Sentencing Guidelines. The defendant agrees, as a part of this agreement, to submit to
interviews by the United States Attorney’s Financial Litigation Unit regarding the

defendant’s financial status, and to complete and submit a financial statement, under oath,

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not later than two weeks after the date of this plea agreement. The defendant understands
that, by law, interest accrues on any remaining balance of the debt.
9. Restitution for Offense of Conviction
In accordance with Fed. R. Cri. P 11(c)(1)(C), the parties agree that 18 U.S.C. §
3663A(c)(3)(B) applies to this case; but the parties stipulate that the amount of restitution
shall be $150,000.00 payable to Company A as defined. The defendant understands that

restitution is mandatory without regard to the defendant’s ability to pay.

10. Restitution not Dischargeable in Bankruptcy
The defendant further agrees that any amount ordered by the Court to be paid as
restitution may not be discharged, in whole or in part, in any bankruptcy proceeding.
11. Special Assessment
The defendant hereby agrees to pay the total amount required for the Special
Monetary Assessment ($100 per felony count) to the United States District Court Clerk
before the time of the sentencing hearing or as directed by the District Court.
12. Factual Basis and Elements
The Defendant is charged in Count One with a violation of 18 U.S.C. Section
1832(a)(1). This law makes it a crime to steal, appropriate without authorization, take or
carry away trade secrets.
To find the defendant guilty of this crime you must be convinced that the

government has proved beyond a reasonable doubt that:

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a. The defendant knowingly stole, or without authorization appropriated, took,
carried away, or concealed, or by fraud, artifice, or deception obtained information;

b. The defendant knew or believed this information was proprietary and he had
no claim to it;

c. This information was in fact a trade secret;

d. The defendant intended to convert the trade secret to the economic benefit of
anyone other than the owner;

Gi The Defendant knew or intended that the offense would injure the owner of
the trade secret; and

iL. The trade secret was related to a product or service used or intended for use
in interstate or foreign commerce.

The Defendant is charged in Count Two with a violation of 18 U.S.C. Section
1832(a)(2). This law makes it a crime to copy, transmit, or destroy a trade secret.

To find the defendant guilty of this crime you must be convinced that the
government has proved beyond a reasonable doubt that:

a. The defendant knowingly, and without authorization, copied, duplicated,

sketched, drew, photographed, downloaded, uploaded, altered, destroyed,

photocopied, replicated, transmitted, delivered, sent, mailed, communicated, or

conveyed information;

b. The defendant knew or believed this information was proprietary and that he
had no claim to it;

Cc. The information was, in fact, a trade secret;

d. The defendant intended to convert the trade secret to the economic benefit of
anyone other than the owner;

e The defendant knew or intended the offense would injure to owner of the
trade secret; and

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f. The trade secret was related to a product or service used or intended for use
in interstate or foreign commerce.

The Defendant is charged in Count Three with a violation of 18 U.S.C. Section
1832(a)(3). This law makes it a crime to receive, buy, and possess trade secrets.

To find the defendant guilty of this crime you must be convinced that the
government has proved beyond a reasonable doubt that:

a. The defendant knowingly, received, bought, or possessed information,

knowing the same to have been stolen or appropriated, obtained, or converted

without authorization;

b. The defendant knew or believed this information was proprietary and that he
had no claim to it:

Cc. The information was in fact a trade secret;

d. The defendant intended to convert the trade secret to the economic benefit of
anyone other than the owner of the trade secret;

e. The defendant knew or intended that the offense would injure the owner of
the trade secret; and

f. The trade secret was related to a product or service used or intended for use
in interstate or foreign commerce.

In regard to the factual basis required by Federal Rule of Criminal Procedure
11(b)(3), the defendant agrees and stipulates that there is a factual basis for the plea of
guilty and relieves the United States of any further obligation to adduce such evidence.

The defendant, HONGJIN TAN admits knowingly, willfully and intentionally
committing or causing to be committed the acts constituting the crime alleged in the
Indictment, and confesses to the Court that the defendant is, in fact, guilty of such crime.

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I, HONGJIN TAN, admit that in or about December 2018, in the Northern
District of Oklahoma, I knowingly and intentionally copied and downloaded
without authorization research and development materials of Company A,
which related to products placed in interstate or foreign commerce by
Company A. Specifically, at all times relevant as alleged in the Indictment,
I was employed by Company A._ I started working for Company A as an
Associate Scientist in June 2017.

Throughout the duration of my employment, I was assigned to work within
a group with the primary goal of developing next generation battery
technologies for stationary energy storage applications, specifically flow
batteries. Flow batteries can generally be defined as rechargeable batteries
that utilize chemical components dissolved in liquids to store energy in the
form of chemical potential.

As part of my work on flow batteries, the copying and downloading of
research and development materials was not required for my work or
authorized by Company A policy. In fact, the copying and downloading was
contrary to Company A policy, of which I had been made aware and agreed
to follow.

On December 11" I used a thumb drive to copy certain Company A files,
including files identified in the charging documents in this case.
Subsequently, on December 12, 2018, at approximately 10:30 a.m., I
provided Company A with notice of my resignation. Later that day, at
approximately 3:30 p.m., I contacted my manager to discuss a personal
thumb drive that I had in my possession containing intellectual property
belonging to Company A.

I further maintained copies of Company A files, including files identified in
the charging documents in this case, on a hard drive that I continued to
possess until December 20, 2018.

I did not have authority to copy or download files located on the thumb drive
or other electronic devices in my possession, at least some of which I
acknowledge meet the statutory definition of a trade secret.

I intended to read these files in the future, which could have provided an
economic benefit to me, and a disadvantage to Company A, in doing so. I
intended to be able to benefit myself in this way at the time that I copied and
downloaded these files, which Company A owned.

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HONGJIN TAN Date
Defendant

13. Further Prosecution
The United States shall not initiate additional criminal charges against the defendant
in the Northern District of Oklahoma that, as of the date of the defendant’s acceptance of
this agreement, arise from its investigation of the defendant’s actions and conduct giving
rise to the instant Indictment, save and except crimes of violence and criminal acts
involving violations investigated by the United States Internal Revenue Service. The
defendant understands, however, that this obligation is subject to all “Limitations” set forth
below, and that the United States Attorney’s Office for the Northern District of Oklahoma
is free to prosecute the defendant for any illegal conduct (i.e., violation of federal criminal
laws) not discovered by or revealed to the Government during its investigation or occurring
after the date of this agreement. The United States is not aware of any other pending or
anticipated charges against the defendant at this time.
14. Dismissal of Remaining Counts
If the Court finds the defendant’s plea of guilty to be freely and voluntarily made
and accepts the plea, then the United States will move, at the appropriate time, to dismiss

the remaining counts in the instant case, if any, as to this defendant.

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Except as provided in Fed. R. Crim. P. 11(c)(1)(C), if the defendant’s guilty plea is
rejected, withdrawn, vacated, or reversed at any time, the United States will be free to
prosecute the defendant for all charges of which it then has knowledge, and any charges
that have been dismissed will be automatically reinstated or may be re-presented to a grand
jury with jurisdiction over the matter. In such event, the defendant hereby waives any
objections, motions or defenses based upon the applicable statute of limitations, the Speedy
Trial Act, or constitutional restrictions as to the time of bringing such charges.

15. Acceptance of Responsibility

Provided the defendant clearly demonstrates acceptance of responsibility, the
United States agrees to recommend a two-level reduction in offense level pursuant to
U.S.S.G. § 3E1.1. The United States agrees to file a motion recommending that the
defendant receive an additional one-level reduction pursuant to U.S.S.G. § 3E1.1(b) if the
defendant is otherwise eligible therefor. The sentencing judge is in a unique position to
evaluate the acceptance of responsibility, and the Court’s determination will provide the
final approval or disapproval of any Section 3E1.1 point level reduction for timely
acceptance of responsibility.

The obligations of the Government herein, relative to acceptance of responsibility
are contingent upon the defendant's continuing manifestation of acceptance of
responsibility as determined by the United States. If the defendant falsely denies, or makes
conflicting statements as to, his involvement in the crime to which he is pleading, falsely

denies or frivolously contests relevant conduct that the Court determines to be true,

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willfully obstructs, or attempts to obstruct or impede the administration of justice as
defined in U.S.S.G. § 3C1.1, or perpetrates or attempts to perpetrate crimes while awaiting
sentencing, or advances false or frivolous issues in mitigation, the United States expressly
reserves the right to withdraw any recommendation regarding acceptance of responsibility
without breaching the agreement.
16. Consent to Removal from the United States

The defendant acknowledges that the defendant is removable from the United States
and agrees not to contest any removal proceedings brought against the defendant by the
Department of Homeland Security (DHS). If the DHS files a Notice to Appear or other
administrative charging document against the defendant, the defendant agrees to request
an expedited removal hearing and to consent to removal. The defendant acknowledges that
by consenting to removal, the defendant will be immediately removed from the United
States upon the completion of any period of incarceration. The defendant knowingly
waives any and all rights to appeal, reopen, reconsider, or otherwise challenge this removal.
The parties’ intent in this provision is for the defendant to be removed from the United
States as promptly as possible following his release from imprisonment and all parties shall
cooperate toward that end.

17. Waiver of Rights Related to Removal from the United States

The defendant agrees to waive the defendant’s rights to any and all forms of relief

from removal, deportation, or exclusion under the Immigration and Nationality Act (as

amended) and related federal regulations. These rights include, but are not limited to, the

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ability to apply for the following forms of relief: (a) voluntary departure; (b) asylum; (c)
cancellation of removal; (d) withholding or suspension of deportation; and (e) adjustment
of status.
18. Abandonment of Pending Applications for Relief from Removal
The defendant understands that any application for relief from removal, deportation,
or exclusion the defendant filed prior to the completion of this plea agreement shall be
deemed abandoned. The defendant further understands and agrees that the filing of any
applications for relief from removal, deportation, or exclusion, either written or oral, or the
prosecution of any pending applications, before any federal court, the Board of
Immigration Appeals, an immigration judge, or the DHS, shall breach this plea agreement.
19. The Defendant’s Cooperation in Removal Proceedings
The defendant agrees to assist the DHS in the execution of the defendant’s removal.
Specifically, the defendant agrees to assist the DHS in the procurement of any travel or
other documents necessary for the defendant’s removal; to meet with and to cooperate with
representatives of the country or countries to which the defendant’s removal is directed;
and to execute those forms, applications, or waivers needed to execute or expedite the
defendant’s removal. The defendant further understands that the defendant’s failure or
refusal to assist the DHS in the execution of the defendant’s removal shall breach this plea
agreement and may subject the defendant to criminal penalties under 8 U.S.C. § 1253.
20. Sentence
a. Imprisonment

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The defendant acknowledges that under 18 U.S.C. $$ 1832(a)(1), 1832(a)(2), and
yeas

1832(a)(3) the maximum statutory sentence 1s ten a imprisonment and a fine of not more

than $250,000.00. Ge a

b. Supervised Release

Additionally, the defendant is aware, if imprisonment is imposed, that the Court
shall include as part of the sentence a requirement that the defendant be placed on a term
of supervised release after imprisonment not to exceed 3 years.

If the term of supervised release for any count of conviction is revoked, the
defendant may be imprisoned for an additional term not to exceed the term of imprisonment
authorized in 18 U.S.C. § 3583(e)(3) for the offense of conviction, with no credit being
given for any time served while on supervised release. Further, the Court may impose
another term of supervised release following any term of imprisonment imposed for a
violation of supervised release conditions, and this term of supervised release may not
exceed the term of supervised release originally authorized by statute for the offense of
conviction less any term of imprisonment that was imposed upon revocation of supervised
release (18 U.S.C. § 3583(e) and (h)). If a second or subsequent term of supervised release
is revoked, the Court may impose another term of imprisonment not to exceed the
difference between any imprisonment imposed for a prior revocation of supervised release
for the offense of conviction and the term of imprisonment authorized pursuant to 18
U.S.C. § 3583(e)(3). Accordingly, the original term of imprisonment when combined with

any term of imprisonment arising from revocations of supervised release, may result in a

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total amount of imprisonment greater than the statutory maximum term for the offense of
conviction.

& Guidelines

The defendant is aware that the Sentencing Guidelines promulgated pursuant to the
Sentencing Reform Act of 1984 at 18 U.S.C. § 3551 through § 3742, and 28 U.S.C. § 991
through § 998, are advisory. The district courts, while not bound to apply the Sentencing
Guidelines, must consult those Guidelines and take them into account when sentencing.
See 18 U.S.C.A. § 3553(a). The sentence imposed in federal court is without parole.

Nothing in this plea agreement, save and except any stipulations contained herein,
limits the right of the United States to present to the Court or Probation Office, either orally
or in writing, any and all facts and arguments relevant to the defendant’s sentence that are
available to the United States at the time of sentencing. The defendant acknowledges
hereby that relevant conduct, that is, conduct charged in any dismissed count and all other
uncharged related criminal activities, will be used in the calculation of the sentence. The
United States reserves its full opportunity to speak pursuant to Rule 32(i)(4)(A)(iii) of the
Federal Rules of Criminal Procedure. The defendant further understands that the sentence
to be imposed upon the defendant will be determined solely by the sentencing judge.

21. Stipulations
The defendant and the United States stipulate and agree as follows:
a. Pursuant to Fed. R. Crim. P. 11(c)(1)(C), the appropriate disposition in this

case is a sentence within a stipulated guidelines range of 18-24 months, with no fine. This

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stipulated range departs from the anticipated guidelines calculation for the violations to
which the defendant is pleading guilty. The parties agreed to this stipulated range based
on the defendant’s personal characteristics and the nature of the defendant’s criminal
conduct. The parties have also considered the fact that this prosecution involves
intellectual property and weighed the need to protect the intellectual property. In light of
these facts, 3553(a) factors, the parties agree that a sentence within the stipulated guidelines
range would serve the best interest of justice.

b. The parties agree that the defendant may withdraw his plea of guilty in the
event that the Court rejects the plea agreement.

G. Having been fully apprised by defense counsel of defendant’s right to seek
compensation pursuant to Public Law 105-119, the defendant WAIVES any and all such
right, and stipulates that defendant is not a “prevailing party” in connection with this case.

d. The United States shall not pursue any criminal or civil forfeiture
proceedings arising from the allegations set forth in the Indictment, whether in this case or

another proceeding.

é. The parties agree that the amount of restitution in favor of Phillips 66 is
$150,000.00.
f. The parties agree that Counts | — 3 merge for purposes of sentencing, and the

range specified in Paragraph 21(a) above is a single sentence that resolves all conduct at

issue.

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22. Limitations

This plea agreement shall be binding and enforceable upon the Office of the United
States Attorney for the Northern District of Oklahoma, but in no way limits, binds or
otherwise affects the rights, powers, duties or obligations of any state or local law
enforcement agency, administrative or regulatory authorities, civil or administrative
enforcement, collection, bankruptcy, adversary proceedings or suits which have been or
may be filed by any governmental entity, including without limitation, the Internal
Revenue Service, the Tax Division of the Department of Justice and the trustee in
bankruptcy.

23. Breach of Agreement

In the event either party believes the other has failed to fulfill any obligations under
this agreement, then the complaining party shall, in its discretion, have the option of
petitioning the Court to be relieved of its obligations herein. Whether or not a party has
completely fulfilled all of its obligations under this agreement shall be determined by the
Court in an appropriate proceeding at which any disclosures and documents provided by
either party shall be admissible and at which the complaining party shall be required to
establish any breach by a preponderance of the evidence. The defendant hereby WAIVES
any right under Rule 1 1(d) and (e) of the Federal Rules of Criminal Procedure to withdraw
from defendant’s plea and this agreement, save and except under circumstances where the
Court rejects the plea agreement under Rule 11(c)(5), except for the limited reasons

outlined above in this paragraph, and except as provided in Fed. R. Crim. P. 11(c)(1)(C).

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Except as provided in Fed. R. Crim. P. 11(c)(1)(C), in the event that HONGJIN
TAN, after entry of a plea of guilty, unsuccessfully attempts to withdraw the defendant’s
plea of guilty, the United States may continue to enforce the agreement but will no longer
be bound by any particular provision in this agreement. This provision will not have any
continued vitality if it is determined by the Court that the United States acted in bad faith
to bring about the attempted withdrawal of plea.

24. Conclusion

No agreements, representations or understandings have been made between the
parties in this case, other than those which are explicitly set forth in this plea agreement
and the Plea Agreement Supplement that the United States will file in this case (as is
routinely done in every case, even though there may or may not be any additional terms)

and none will be entered into unless executed in writing and signed by all of the parties.

 

SO AGREED:
R. TRENT SHORES
UNITED STATES ATTORNEY
“ he L; 20/9
Dated ‘

 
   

 

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Defendant

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I have read this agreement and carefully reviewed every part of it with my attorney.
I understand it, and I voluntarily agree to it. Further, I have consulted with my attorney
and fully understand my rights with respect to sentencing which may apply to my case. No
other promises or inducements have been made to me, other than those contained in this
pleading. In addition, no one has threatened or forced me in any way to enter into this

agreement. Finally, I am satisfied with the representation of my attorney in this matter.

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HONGJIN TAN Dated
Defendant

I am counsel for the defendant in this case. I have fully explained to the defendant
the defendant’s rights with respect to the pending Indictment. Further, I have reviewed the
provisions of the Sentencing Guidelines and Policy Statements and I have fully explained
to the defendant the provisions of those Guidelines which may apply in this case. I have

carefully reviewed every part of this plea agreement with the defendant. To my knowledge,

 

the defendant’§ decisig@n to/enter into this agreement is an informed and voluntary one.

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RY . Y Dated
Counsél the Déféndant

 

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